       Case: 1:21-cv-00056-SA-DAS Doc #: 5 Filed: 05/05/21 1 of 4 PageID #: 49




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 ABERDEEN DIVISION

IN THE MATTER OF THE COMPLAINT OF
MAX MARINE LLC as Owner Pro Hac Vice
and Operator of the M/V Crown Jewel                           CAUSE NO. 1:21-CV-56-SA-DAS


                                              ORDER

       On March 19, 2021, the Petitioner, Max Marine LLC, as owner pro hac vice and operator

of the M/V CROWN JEWEL, its engines, tackle, furniture, appurtenances, etc., filed a Verified

Complaint [1] in this Court, claiming the benefit of the limitation of liability provided for in 46

U.S.C. § 30505, et seq., and Rule F of the Supplemental Rules for Certain Admiralty and Maritime

Claims, Federal Rules of Civil Procedure. The Verified Complaint [1] contests the liability of

Petitioner for any and all losses, damages, injuries, and destruction caused by or resulting from the

alleged incident on or about February 7, 2021. The Verified Complaint [1] states the facts and

circumstances upon which the limitation of and/or exoneration from liability is claimed, and from

which it appears that the value of Petitioner’s interest in the M/V CROWN JEWEL, and pending

freight did not exceed the sum of FIVE HUNDRED SEVENTY THOUSAND FOUR HUNDRED

AND NO/100 DOLLARS ($570,400.00). Claims may be made against Petitioner for losses,

damages, injuries, death or destruction alleged to have occurred to in consequence of the events

incurring on or about February 7, 2020.

       Petitioner has filed and submitted an Ad Interim Stipulation accompanied by an executed

Letter of Undertaking, constituting approved security in the sum of FIVE HUNDRED SEVENTY

THOUSAND FOUR HUNDRED AND NO/100 DOLLARS ($570,400.00), together with interest,

at the applicable rate per annum, as required by the applicable Rules.
       Case: 1:21-cv-00056-SA-DAS Doc #: 5 Filed: 05/05/21 2 of 4 PageID #: 50




        IT IS HEREBY ORDERED, on the motion of counsel for Petitioner, that the Letter of

Undertaking submitted by Petitioner’s underwriters, The Hartford Financial Services Group, Inc.,

in the amount of $570,400.00 with interest, representing Petitioner’s interest in the M/V CROWN

JEWEL and her pending freight, if any, be accepted as security under Rule F(1) of the

Supplemental Rules for Certain Admiralty and Maritime Claims, Federal Rules of Civil Procedure,

for purposes of this Limitation proceeding and that it be hereby approved as to form, quantum, and

surety; and

        IT IS FURTHER ORDERED that any claimant who may properly become a party hereto

may contest the amount or value of Petitioner’s interest in the M/V CROWN JEWEL and her

pending freight and may move the Court for new appraisal of the said interest and may apply to

have the amount increased or diminished, as the case may be, on determination of the Court; and

        IT IS FURTHER ORDERED that the further prosecution of any pending actions, suits or

legal proceedings in any court whatsoever, and the institution and prosecution of any suits, actions

or legal proceedings of any nature and description whatsoever in any court, wheresoever, except

in this proceeding for limitation of liability, against Petitioner, its controllers, underwriters, or the

M/V CROWN JEWEL, in respect to any claim arising out of or in connection with the alleged

incident on or about February 7, 2020, be and the same are hereby stayed and restrained until the

hearing and determination of this action, and all warrants of arrests issued in such other suits,

actions or legal proceedings be and the same are hereby dissolved; and

        IT IS FURTHER ORDERED that a Notice issue out of and under the seal of this Court to

and against all persons or concerns claiming damages for any and all losses or damages arising

from the alleged incident on or about February 7, 2020, in which the M/V CROWN JEWEL was

allegedly engaged, admonishing them and each of them to appear and file their respective claims



                                                   2
       Case: 1:21-cv-00056-SA-DAS Doc #: 5 Filed: 05/05/21 3 of 4 PageID #: 51




with the Clerk of this Court, and to serve on or mail to the Attorneys for Petitioner a copy thereof

on or before the 1st day of July, 2021, and to make due proof of their claims, subject to the right

of any such person or persons to controvert or question said claims, with liberty also, to any such

claimants who have duly filed their claims to answer the Complaint to challenge the amount or

value of Limitation Petitioner’s interest in the M/V CROWN JEWEL and her pending freight and

may move the Court for new appraisal of the said interest and may apply to have the amount

increased or diminished, as the case may be, on determination of the Court. Said Notice is attached

to this Order as Attachment 1; and

       IT IS FURTHER ORDERED that public notice of said Notice shall be given publication

in the newspaper known as the Monroe Journal, a newspaper with general publication published

in Amory, Mississippi, and The Dispatch, a newspaper with general publication published in

Columbus, Mississippi, and that such notice shall be published once a week for four successive

weeks, prior to the date fixed herein, for the filing of claims. Attorneys for the Petitioner shall

be responsible for ensuring that notice is completed and shall thereafter file proof thereof on

the docket; and

       IT IS FURTHER ORDERED that not later than the date of the second publication of said

notice, Petitioner shall cause to be mailed a copy of the said notice to every person or concern

known to have made any claim that remains outstanding against the M/V CROWN JEWEL or

against Petitioner, arising out of the alleged incident involving the Vessel; and




                                                 3
        Case: 1:21-cv-00056-SA-DAS Doc #: 5 Filed: 05/05/21 4 of 4 PageID #: 52




        IT IS FURTHER ORDERED that service of this Order as a Restraining Order be made

through the Post Office by mailing a copy of this Order to the person or persons to be restrained,

or to his or their attorneys.

        SO ORDERED, this the 5th day of May, 2021.



                                                    /s/ Sharion Aycock
                                                    UNITED STATES DISTRICT JUDGE




                                                4
